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MINUTE ENTRY
BARBIER, J.
March 5, 2025

                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                   CIVIL ACTION

 VERSUS                                                     NO: 23-735

 DENKA PERFORMANCE                                          SECTION: “J”(5)
 ELASTOMER LLC ET AL.


      The Court held a telephone status conference with the following parties in

attendance: Jonah M. Seligman, Steven David Shermer, Davis Hoskins Forsythe,

Hannah Lee Frazier, and Scott Cernich representing the United States of America;

David A. Super, Robert E. Holden, Henry Steven Rauschenberger, Jason B. Hutt,

Jeffery Holmstead, and Kevin Dow Collins representing Denka Performance

Elastomer LLC (“Denka”); and Eric Earl Jarrell representing DuPont Specialty

Products USA, LLC (“DuPont”). Aki Kusaka, a representative of Denka, was also in

attendance. At the status conference, the Court discussed the status of the litigation

with the parties and was informed that the parties intend to file a Rule 41(a)(1)(A)(ii)

stipulation of dismissal signed by all parties.

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 JS-10: 6 mins.


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                                                  CARL J. BARBIER
                                                  UNITED STATES DISTRICT JUDGE


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